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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------· ·-·· ------- ·-----· ·--- ----------          ·--X

UNITED STATES OF AMERICA                                                 19-CR-374-1 (JMF)

-v-
                                                                         AFFIDAVIT OF CLARK
MICHAEL AVENATTI,                                                        0. BREWSTER IN
                                                                         SUPPORT OF MOTION
                  Defendant.                                             TO ADMIT COUNSEL
                                                                         PROHACVICE
-----------------------------•-     ---------------------·-A ·------X

State of Oklahoma           )
                            ) ss:
County of Tulsa             )

         Clark 0. Brewster, being duly sworn, hereby deposes and says as follows:                    'I:,


1. I am the principal and managing attorney of Brewster & DeAngelis, PLLC, a law firm in

      Tulsa, Oklahoma.

2. I submit this affidavit in support of my motion for admission to practice pro hac vice in the

      above-captioned matter.

3. I am a member in good standing of the bar of the State of Oklahoma. I have requested an

      updated Certificate of Good Standing and have been informed that we should be receiving it

      today or tomorrow.          I have attached my most recent Certificate of Good Standing [See

      Exhibit 1] from the State of Oklahoma which was issued on December 15, 2021. I will

      supplement with a more recent CGS as soon as it is received from the Bar Association.

4. Affiant is also a member in good standing of the bar in the State of Texas. [See Exhibit 2].

5. Further, your affiant shows the Court that he has been admitted pro hac vice to federal, state

      and/or administrative courts in FL, CA, AZ, NM, CO, MO, OH, AR, HI, KS, IA, MN, WI,

      MI, IL, KY, NJ, NY, MD, WA, OR, ID, DE and the Eastern District of New York; has

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     served as lead counsel in excess of seventy-five (75) jury trials; and made innumerable other

     appearances before these and other courts.

6. There are no pending disciplinary proceedings against me in any State or Federal court.

7.   I have not been convicted of a felony.
8.   I have not been censured, suspended, disbarred or denied admission or readmission by any
     court.

9. Your affiant is longstanding personal counsel to Interested Party, Stephanie Clifford, who has

     been served a subpoena by Defendant Avenatti. Ms. Clifford seeks to challenge the manner

     and scope of Mr. Avenatti's subpoena because Ms. Clifford contends that it does not comply

     with the strictures of Fed. R. Crim. P. 17.
                                                                                                        "'
                                                                                                        I




10. Your affiant is also the subject of another of Mr. Avenatti's subpoenas in his personal

     capacity. Just as his client Ms. Clifford, your affiant also seeks to challenge the subpoena to

     him because he contends that it does not comply with Fed. R. Crim. P. 17 in several respects

     and is oppressive and burdensome.

11. Therefore, your affiant respectfully requests that he be permitted to appear as counsel and

     advocate pro hac vice in this case for himself and Interested Party, Stephanie Clifford, for the

     purpose of challenging the validity of the subpoenas from Defendant A venatti.

12. I state under penalty of perjury of the laws of the United States that the foregoing is true and

     correct to the best of my knowledge.

Dated: January 18, 2022



                                                           k . Brewster, OBA #1114
                                                       Brewster & DeAngelis, PLLC
                                                       261 7 East 21st Street

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                                                   Fax: (918) 742-2197



State of Oklahoma     )
                      ) ss:
County of Tulsa       )

   This instrument was acknowledged before me pn this 18th day of January, 2022 by Clark 0.
Brewster.
                     HEATHER PRESCOTT
                        NOTARY PUBLIC
                      STATE OF OKLAHOMA
                    COMMISSION NO. 11007482
                       EXPIRES 08-17-2023

(S EAL)
                                                                                              '\.
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                                                                                               /'

My Commission Expires:




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